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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
__________________________________________
SANDRA K. ZIMNICKI,                        )
                                           )
            Plaintiff,                     )
                                           )
      v.                                   )   Case No. 09 CV 2132
                                           )
GENERAL FOAM PLASTICS CORP., and           )   Hon. John F. Grady
NIXAN INTERNATIONAL LTD.,                  )
                                           )
            Defendants.                    )
_________________________________________ )

  DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR JOINT MOTION TO
 DISMISS PLAINTIFF’S AMENDED COMPLAINT, OR IN THE ALTERNATIVE TO
                    JOIN AN INDISPENSABLE PARTY

       Defendants General Foam Plastics Corporation (“General Foam”) and Nixan

International Limited (“Nixan”) (collectively “Defendants”) hereby submit this memorandum in

support of their Joint Motion To Dismiss Plaintiff’s Amended Complaint pursuant to Federal

Rule of Civil Procedure 12(b)(7) for failure to name the indispensable party Neo-Neon

International Limited (“Neo-Neon”) as a defendant in this action, or in the alternative compel

joinder of Neo-Neon as a Defendant in this matter pursuant to Federal Rule of Civil Procedure

19. In support of this Motion, the Defendants state as follows:

                                       INTRODUCTION

       Joinder of Neo-Neon in this action is necessary under Federal Rule of Civil Procedure 19

and 17 U.S.C. § 501(b) because the validity of Plaintiff’s purported copyrights is a central issue

in this matter – copyrights which Neo-Neon also claims to own by virtue of the work for hire

doctrine. (Ex. B ¶¶ 4-18.) Because Defendants contend upon information and belief that any

creative input Plaintiff had in the production of the reindeer designs allegedly registered under

copyright numbers VAu 664-846, VAu 664-847, VAu 664-862, VAu 664-863, and VAu 664-
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864 was in her capacity as a Neo-Neon employee, this litigation will require a determination of

whether Neo-Neon or Plaintiff owns the alleged copyrights. Neo-Neon thus is an indispensable

party because it claims an interest in the subject matter of this lawsuit and is so situated that

disposing of the action in Neo-Neon’s absence may as a practical matter impair or impede Neo-

Neon’s ability to protect its interest or leave the Defendants subject to a substantial risk of

incurring double or inconsistent obligations. See Whitney, Atwood, Norcross Assoc., Inc. v.

Architects Collaborative, Inc., No. 90-CV-11521, 1991 WL 2223, at *2 (D. Mass. Jan. 4, 1991)

(ordering a dismissal of a copyright infringement claim unless a non-party who the defendant

alleged as the true owner of the copyright was joined because “the resolution of th[e] action will

necessarily involve a determination of the rights owned by” that non-party); see also 3-12

Nimmer On Copyright 12.03 (“joinder should occur if an issue is raised as to the validity of the

copyright upon which the rights of the persons to be joined, as well as those of the plaintiff,

rest”). If joinder of Neo-Neon cannot be secured, Plaintiff’s Amended Complaint must be

dismissed pursuant to Federal Rule of Civil Procedure 12(b)(7) for failure to join an

indispensable party.

                                           ARGUMENT

       I.      Standard Of Review

       Federal Rule of Civil Procedure 12(b)(7) provides for the dismissal of a Complaint for

“failure to join a party under Rule 19.” Rule 19 requires joinder of an indispensable party if:

   (B) that person claims an interest relating to the subject of the action and is so situated
   that disposing of the action in the person's absence may:

   (i) as a practical matter impair or impede the person's ability to protect the interest; or

   (ii) leave an existing party subject to a substantial risk of incurring double, multiple, or
   otherwise inconsistent obligations because of the interest.



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Fed.R.Civ.P. 19(a)(1)(B). Section 501(b) of the Copyright Act supplements the Rule 19 joinder

requirement by providing that “[t]he court may require the joinder . . . of any person having or

claiming an interest in the Copyright” at issue. 17 U.S.C. § 501(b).

       When determining whether to grant a Rule 12(b)(7) motion to dismiss the court must

accept all factual allegations in the operative complaint as true, and may also “go outside the

pleadings and look to extrinsic evidence.” Davis Co. v. Emerald Casino, Inc., 268 F.3d 477,

479, 480 nn. 2, 4 (7th Cir. 2001) (emphasis added).

       II.     Neo-Neon Is An Indispensable Party Because Upon Information And Belief
               Neo-Neon Claims An Interest To The Purported Copyrights At Issue In This
               Action

       This matter cannot proceed without joinder of Neo-Neon because the validity of the

copyrights at issue in the matter requires a determination of whether Plaintiff or Neo-Neon is the

author of and owns the rights to the reindeer designs that are the subject of the copyrights.

“Absent special circumstances joinder should be required in cases challenging the validity of the

copyright upon which rest the rights of the person to be joined.” Night Hawk Ltd. v. Briarpatch

Limited, LP., No. 03-CV-1382, 2003 WL 23018833, at *3 (S.D.N.Y. Dec. 23, 2003) (internal

quotations omitted) (quoting Wales Industrial, Inc. v. Hasbro Bradley, Inc., 612 F. Supp. 510,

517 (S.D.N.Y. 1985)).

       Plaintiff alleges that in February 2004, she verbally agreed to license to Neo-Neon the

right to produce, distribute and sell both new and existing holiday decorations based on her

purported designs. ([Dkt. # 13] ¶ 12.) She alleges that the reindeer designs at issue in this case

were created by her as an independent contractor of Neo-Neon, not as an employee of Neo-

Neon. Id. at ¶¶12-16. Plaintiff allegedly ceased producing designs pursuant to this agreement in

July 2004 and, the following year, purportedly “applied for and received certificates of

registration” for the designs she allegedly produced – including those registered under copyright
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numbers VAu 664-846, VAu 664-847, VAu 664-862, VAu 664-863 and VAu 664-864. Id. at ¶¶

15, 17. In the present lawsuit, Plaintiff alleges that Defendants General Foam and Nixan

produced, distributed, advertised, and/or sold unauthorized copies of “at least” the reindeer

designs that are the subject of the alleged VAu 664-846, VAu 664-862, and VAu 664-863

copyrights. Id. at ¶ 29.

       In related litigation between Plaintiff and Neo-Neon currently pending before this Court,

styled Zimnicki v. Cinmar, L.P. d/b/a Front Gate, Menard, Inc., Neo-Neon International Ltd.

And Seasonal Concepts, Inc., Case No. 06-cv-4879 (the “Zimnicki – Neo-Neon Litigation”),

Plaintiff alleges that Neo-Neon infringed these same copyrights by producing, selling,

advertising and distributing products that are substantially similar to the reindeer designs

registered under these copyrights. (Ex. A at 6, 12, 15, 19, 24, 30.) In response to these

allegations, Neo-Neon counterclaimed asserting that:

   In April 2004, Neo-Neon employed Zimnicki to work with Neo-Neon’s in-house design
   team and other departments to modify Neo-Neon’s existing holiday products. Zimnicki
   was employed to work at Neo-Neon’s office in China, receiving a monthly salary and
   living in Neo-Neon employee housing.

(Ex. B at 107) (emphasis added.) Neo-Neon further alleges that during the term of Plaintiff’s

employment with Neo-Neon, Plaintiff worked on the reindeer designs in collaboration with other

Neo-Neon employees; and that to the extent Plaintiff created the designs subject to the alleged

VAu 664-846, VAu 664-847, VAu 664-862, VAu 664-863 and VAu 664-864 copyrights, any

such creation would have been made in her capacity as an employee of Neo-Neon. Id. at 107-

108. Neo-Neon thus asserts that these designs are “works made for hire” under 17 U.S.C. § 101,

and that Neo-Neon is the “true author and owner of the Deer Designs” reflected in the alleged




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copyrights at issue. Id. at 108-109.1 Neo Neon seeks to have Plaintiff’s copyrights declared

invalid on the grounds that “Zimnicki procured the registrations by knowingly and fraudulently

representing to the Copyright Office that she was the author of the works when, in fact, she was

not the author of the works and certainly was not the sole author.” Id. at 108

         Defendants contend upon information and belief that assuming the reindeer designs at

issue are copyrightable (given the generic nature of them), the copyrights in such designs would

be exclusively owned by Neo-Neon by virtue of the work for hire doctrine, and that Plaintiff’s

copyright registrations are invalid. Upon information and belief, any creative input by Plaintiff

in the production of these designs would have been performed in her capacity as a Neo-Neon

employee. See Community for Creative Non-Violence v. Reid, 490 U.S. 730, 751-52 (1989)

(factors relevant to determining whether an individual was an employee for purposes of

determining whether a work is a work made for hire include “the source of the instrumentalities

and tools; location of the work . . . the method of payment . . . whether the work is part of the

regular business of the hiring party . . . [and] the provision of employee benefits”). Plaintiff

cannot maintain her copyright infringement action without proving that she, and not Neo-Neon,

owns copyrights at issue and that they are valid. See Susan Wakeen Doll Co., Inc. v. Ashton

Drake Galleries, 272 F.3d 441, 450 (7th Cir. 2001) (“[t]o establish copyright infringement, a

plaintiff must prove . . . ownership of a valid copyright”).

         Thus, this litigation necessarily will involve a determination of : (1) whether Neo-Neon

or Plaintiff authored and owns the rights to the reindeer designs that are the subject of Plaintiff’s

alleged copyrights VAu 664-846, VAu 664-847, VAu 664-862, VAu 664-863 and VAu 664-864;

and (2) whether those copyrights should be declared invalid and cancelled. This matter cannot


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  Neo-Neon also alleges to have registered these designs with the Chinese Patent Office in late 2004, before Plaintiff
registered her alleged copyrights. Id. at 108.

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proceed without Neo-Neon being joined as a party, because Neo-Neon claims an interest in the

reindeer designs that are the subject of this action and is so situated that disposing of the action in

Neo-Neon’s absence may (1) as a practical matter impair or impede Neo-Neon’s ability to

protect the interest; or (2) leave General Foam and Nixan subject to a substantial risk of incurring

double, multiple or otherwise inconsistent obligations because of the interest.2 See Wales, 612 F.

Supp. at 517, overruled on other grounds by, Hasbro Bradley, Inc. v. Sparkle Toys, Inc., 780

F.2d 189 (2d Cir. 1985) (requiring joinder of a non-party with ownership interests to the

copyright at issue because “failure to join [the non-party] will subject the movants to a risk of

multiple lawsuits and inconsistent judgments concerning the validity of the . . . copyrights”).

        As a result, this lawsuit should be dismissed under Rule 12(b)(7) for failure to join a

party under Rule 19. See Night Hawk, 2003 WL 23018833, at *3 (dismissing a copyright

infringement pursuant to Rule 12(b)(7) because issues were “raised as to the validity of [the

plaintiff’s] copyright and the status of rights subsequently gained by” the non-party); Architects

Collaborative, 1991 WL 2223, at *2 (ordering a conditional Rule 12(b)(7) dismissal of a

copyright infringement claim because “the resolution of th[e] action will necessarily involve a

determination of the rights owned by” a non-party); Scott v. Paramount Pictures Corp., et al,

449 F. Supp. 518, 520 (D.D.C. 1978) (dismissing a copyright infringement action for failure to

join an indispensable party because the validity of the non-party’s copyright was at issue and “an

adverse judgment against the present defendants would certainly affect their interests”).

Alternatively, Neo-Neon should be joined as a defendant in this action pursuant to Rule 19. 3-12

Nimmer On Copyright 12.03 (“joinder should occur if an issue is raised as to the validity of the




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 For example, Defendants could be subject to a separate copyright infringement lawsuit from Neo-Neon that could
subject them to double liability or inconsistent obligations.

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copyright upon which the rights of the persons to be joined, as well as those of the plaintiff,

rest”).

                                           CONCLUSION

          For the forgoing reasons, and for the reasons set forth in Defendants’ Joint Motion to

Dismiss Plaintiff’s Amended Complaint, General Foam and Nixan respectfully request that this

Court dismiss Plaintiff’s Amended Complaint in its entirety pursuant to Federal Rule Of Civil

Procedure 12(b)(7) or in the alternative join Neo-Neon as a defendant in this matter pursuant to

Federal Rule of Civil Procedure 19, and award any further relief that this Court deems necessary.

          Dated: July 2, 2009                              Respectfully submitted,


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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
__________________________________________
SANDRA K. ZIMNICKI,                        )
                                           )
            Plaintiff,                     )
                                           )
      v.                                   )   Case No. 09-CV-2132
                                           )
GENERAL FOAM PLASTICS CORP., and           )   Hon. John F. Grady
NIXAN INTERNATIONAL LTD.,                  )
                                           )
            Defendants.                    )
_________________________________________ )

                               CERTIFICATE OF SERVICE


       The undersigned attorney certifies that the foregoing DEFENDANTS’ MEMORANDUM
IN SUPPORT OF THEIR MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT
was served on counsel of record by electronic filing and U.S. Mail this 2nd day of July, 2009,
and the same is available for viewing by downloading off of the Court’s ECF system.


                                                         _s/ John T. Williams________


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